             Case 6:16-cv-00359-RP Document 1 Filed 09/12/16 Page 1 of 4



                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

BOBBY RAWLINGS                                        §
  Plaintiff,                                          §
                                                      §
v.                                                    §    CIVIL ACTION NO. 6:16-cv-00359
                                                      §
STATE FARM LLOYDS,                                    §
   Defendant.                                         §

                           NOTICE OF REMOVAL OF ACTION
                          UNDER 28 U.S.C. § 1441(b) (DIVERSITY)

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW Defendant State Farm Lloyds (“Defendant”) and hereby petitions this

Court pursuant to 28 U.S.C. §§ 1332, 1441(b), and 1446 for removal, on the basis of diversity of

citizenship jurisdiction, to the United States District Court for the Western District of Texas, Waco

Division, of the action numbered and styled Cause No. 2016-2982-4; Bobby Rawlings v. State

Farm Lloyds; In the 170th Judicial District Court, Mclennan County, Texas (the “State Court

case”), and in support thereof would respectfully show this Court as follows:

                                             I. FACTS

        1.     Plaintiff filed his Original Petition (“Petition”) in the State Court case on August

15, 2016. A true and correct copy of the Original Petition is attached hereto as part of Exhibit A.

In his Original Petition, Plaintiff has asserted claims for negligence, breach of contract, prompt

payment act claims, common law bad faith claims and violations of the DTPA and Texas Insurance

Code.

        2.     Plaintiff served Defendant through its registered agent with citation and a copy of

his Petition in the State Court case on August 22, 2016. This Notice of Removal is filed within

thirty (30) days of service of the Petition, in compliance with 28 U.S.C. § 1446(b).

        3.     Plaintiff is a citizen and resident of the State of Texas.
            Case 6:16-cv-00359-RP Document 1 Filed 09/12/16 Page 2 of 4



       4.      Defendant State Farm Lloyds, an unincorporated association of underwriters, is a

citizen of Illinois. None of the underwriters are citizens of the State of Texas. The citizenship of

an unincorporated association is determined solely by the citizenship of its members. See Ponton

v. Allstate Texas Lloyds, No. H-10-4842, 2011 WL 2837592 (S.D. Tex. Jul 18, 2011).

                              II. AMOUNT IN CONTROVERSY

       5.      Plaintiff’s petition seeks monetary relief over $100,000.00. See Petition at p 1.

Plaintiff further alleges that State Farm underpaid Plaintiff’s insurance claim, and refused to issue

a full and fair payment for the alleged loss. See Petition at p. 3. Plaintiff alleges that State Farm

acted intentionally when it failed to investigate his claim properly and refused to pay for obviously

covered damages. See Petition at p. 4. Plaintiff seeks consequential damages, as well as an award

of treble damages of all of the foregoing damages as well as attorney’s fees in an amount more

than $200,000.00, but less than $1,000,000.00. See Petition at ps. 19-29. Plaintiff's allegations

seeking contractual and extra-contractual damages, statutory damages, (including treble damages)

allegations and attorneys' fees recoverable by statute are considered in determining the amount in

controversy. H&D Tire &Automotive-Hardware, Inc. v. Pitney Bowes, Inc., 227 F.3d 326, 330

(5th Cir. 2000).

                            III. COMPLETE DIVERSITY EXISTS

       6.      This action is a civil action which may be removed to this Court by Defendant

pursuant to the provisions of 28 U.S.C. §§ 1441(b) and 1332(a) in that it is between citizens of

different states and it is a civil action wherein the matter in controversy exceeds the sum of

$75,000.00, exclusive of interests and costs.

                           IV. PROCEDURAL REQUIREMENTS

       7.      By virtue of filing this Notice of Removal, Defendant does not waive its right to

                                                 2
             Case 6:16-cv-00359-RP Document 1 Filed 09/12/16 Page 3 of 4



assert any motions to dismiss, including Rule 12 motions permitted by the Federal Rules of Civil

Procedure.

       8.      All of the papers on file in the State Court case at the time of removal are attached

hereto as Exhibit A. Those papers include the citation, Plaintiff’s Original Petition, the State court

docket sheet, and all answers on file.

       9.      Pursuant to 28 U.S.C. § 1446(d), written notice of filing of this Notice will be given

to all adverse parties promptly after the filing of this Notice.

       10.     Pursuant to 28 U.S.C. § 1446(d), a true and correct copy of this Notice will be filed

with the District Clerk of McLennan County, Texas promptly after the filing of this Notice.

       WHEREFORE, PREMISES CONSIDERED, Defendant State Farm Lloyds requests that

this action be removed from the 170th Judicial District Court of McLennan County, Texas to the

United States District Court for the Western District of Texas, Waco Division, and that this Court

enter such further orders as may be necessary and appropriate.

                                               Respectfully submitted,

                                               SKELTON & WOODY
                                               248 Addie Roy Rd, Bldg B-302
                                               Austin, Texas 78746
                                               Telephone:    (512) 651-7000
                                               Facsimile:    (512) 651-7001

                                         By:   /s/ Edward F. Kaye
                                               J. Hampton Skelton
                                               State Bar No. 18457700
                                               hskelton@skeltonwoody.com
                                               Edward F. Kaye
                                               State Bar No. 24012942
                                               ekaye@skeltonwoody.com
                                               ATTORNEYS FOR DEFENDANT
                                               STATE FARM LLOYDS




                                                   3
          Case 6:16-cv-00359-RP Document 1 Filed 09/12/16 Page 4 of 4



                               CERTIFICATE OF SERVICE
       I hereby certify that on this 12th day of September, 2016 I am electronically filing the
foregoing with the Clerk of the Court using the Case Management/Electronic Case Files
(“CM/ECF”) system, and I hereby certify that I have mailed by certified mail, return receipt
requested the document to the following non-CM/ECF participant:

McClenny Moseley & Associates, PLLC
James M. McClenny
J. Zachary Moseley
1214 West Dallas St.
Houston, Texas 77019
Facsimile: (713) 322-5986


                                                   /s/ Edward F. Kaye
                                                   Edward F. Kaye




                                              4
